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United States Court of Appeals 3

For the First Circuit >

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Lisa Biron, ) wey
Appe llant =

V. Case no. 18-2226 co wn
D.N.H. Case no. 16-Cv-108-PB

12-CR-140-PB

United States of America

. Application for Certificate of Appealability

Appellant-Movant, Lisa Biron, hereby applies to this Honorable Court
for a certificate of appealability ("COA") under 28 U.S.C. § 2353(c) to
appeal the October 2, 2017 Judgment of the District of New Hampshire
which denied her motion for relief under 28 U.S.C. § 2255, and denied her
a COA.

Grounds for Application

Appellant Filed a timely motion under § 2255 arguing that trial
counsel was ineffective under Strickland v Washington, 466 U.S. 668 (1984).
Appellant argued that counsel was ineffective for failing to investigate
or present any mental health status evidence, and for failing to interview
a single witness. The District Court summarily denied the motion.

In ruling on the motion, the District Court found that trial counsel's
failure to investigate or present any mental health evidence did not pre-
judice the appellant because evidence of Ms. Biron's impaired mental
status would not have changed the outcome of the trial. It based its
finding on its erroneous understanding of 18 U.S.C. § 2251(a) as a general

intent crime.

 
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Further, the court found that because the psychologist that evaluated
the appellant post-conviction did not make a diagnosis that she was legal-
ly insane there was no evidence to support a defense of insanity.
Procedural Status

After the District Court's denial of her § 2255 Motion, the Appellant
notified the court of habeas counsel's deficient performance in abandon-
ning her habeas case. The court treated this notification, which requested,
inter alia, that the court reopen judgment to allow the Appellant to bring
claims and present evidence that habeas counsel failed to provide (see
Appellant's Letter November 1, 2017 on PACER), as a motion under Rule 60(b)
and denied said motion.

Consequently, Appellant filed an attorney grievance against habeas
counsel which was dismissed. Between the filing of the November letter and
the Attorney Grievance, Appellant was taken from Carswell FMC, Texas on
January 30, 2018 at 2:00 a.m. on a surprise transfer to Waseca, MN.

After approximately one (1) month, Appellant received her property in-
cluding most of her legal papers. Appellant was promptly assigned to work
in the kitchen which assured that she had minimal access to the law library
and no ability to pursue her legal remedies in this case. Despite Appel-
lants several requests to staff (emails available on request) for "legal
leave'' to work on her case, her requests were denied.

After finally obtaining a new job assignment in June 2018, Appellant
filed a Motion for Relief from Judgment under Rule 60(b) to give the
District Court the opportunity to address its errant conclusion that the
production of child pornography is a general intent crime as this premise
effected the integrity of the entire trial as well as its analysis of the

motion under § 2255. On July 18, 2018, the District Court denied the mot-

 
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jon without addressing the merits. Appellant has filed a Notice of Appeal
to appeal this denial.

Presently, Appellant seeks a COA to appeal the denial of her motion
under § 2255 which, despite habeas counsel's deficient performance, presents
a strong case that trial counsel was ineffective for failing to present or
investigate evidence of Ms. Biron's mental health/status.

Argument in Support of Issuance of COA

In ruling on her motion under § 2255, the District Court found that
trial counsel's failure to investigate or present any mental health evi-
dence was not ineffective assistance of counsel based on the erroneous
premise that the production of child pornography (18 U.S.C. § 2251(a)) is
a general intent crime when it is a specific intent crime that requires
proof that Ms. Biron acted to cause R.B. to engage in sexually explicit
conduct for the purpose of filming it; and because the psychologist that
evaluated Ms. Biron post-conviction did not diagnose her as legally insane
when he was not asked to do so, and was not qualified to make such a diag-
nosis.

Legal Standard

To obtain a COA, Ms. Biron is required to make "a substantial show-
ing of the denial of a Constitutional right." 28 U.S.C. § 2253(c)(2).
"The COA inquiry is not coextensive with a merits analysis.'' Buck v.
Davis, 123 S. Ct. 159, ____ (2016). At this stage, Ms. Biron must show
only "that jarists of reason could disagree with the district court's
resolution of [her] constitutional claims or that jurists could conclude
the issues presented are adequate to deserve encouragement to proceed

further.’ Id. (quoting Miller-El v. Cockrell, 537 U.S. 322, 327 (2003)).

 
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This is a threshold inquiry that does not include "full consideration
of the factual or legal bases."' Buck, 137 S. Ct. at (quoting Miller-
El, 537 U.S. at 336.

I. Evidence of Diminished Capacity is Admissible to Negate the
Mens Rea Element of a Specific Intent Crime

In denying her § 2255 Motion, the District Court found that evidence
of Ms. Biron's impaired mental status would not have changed the outcome
of the trial based on its belief that § 18 U.S.C. § 2251(a) (the production

of child pornography) is a general intent crime.+
Specifically, the court stated that "Count One was [Ms.] Biron's

only crime of specific intent[, and her] senen’ other crimes were general
intent crimes."" (Oct. 2017 Order at 14 & 14 n.7)(emphasis added). This
finding, of course, precludes the use of mental health status short of
insanity as evidence at trial.

In fact, Counts 2 through 7 (18 U.S.C. § 2251(a)) are also specific
intent crimes that require the highest level of mens rea and, at a mini-
mum, "but for'' causation in order to convict, which makes evidence of
Ms. Biron's mental status relevant and admissible to negate the element
of mens rea.

"As with any question of statutory interpretation, [the Court's ]

analysis begins with the plain language of the statute."' Jimenez v-

Quarterman, 555 U.S. 113, 118 (2009). It is presumed that the''legislature

 

1 That the District Court held this fundamental misunderstanding of the law
was only just revealed in its order denying the § 2255 motion. As stated,
supra, Ms. Biron filed a motion for relief from judgment under Rule 60(b)

to allow the court to address this exceptional circumstance that undermines
the integrity of the entire trial. Undaunted, the court summarily denied
the motion on 7/18/18 without addressing the merits and Ms. Biron has filed
a Notice of Appeal.

2 Count Eight (possession of child pornograph ) is a general intent crime —
the only general intent crime of the eight (8) counts.

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says in a statute what it means and means in a statute what it says there."
Dodd v. United States, 545 U.S. 353, 357 (2005).

In the present case, the text of the statute upon which Counts 2
through 7 are based is unambiguous. To convict Ms. Biron under 18 U.S.C.
§ 2251(a), the government must prove, beyond a reasonable doubt, that she
"employL[ed], use[d], persuade[d], induce[d], entice[d], or coerce[d] the
minor [(R.B.)] to engage in . . . any sexually explicit conduct for the
purpose of producing any visual depiction of such conduct... ." 18
U.S.C. § 2251(a). Clearly, a statute that requires a defendant to cause
a minor to engage in certain behavior for the purpose of filming it,
requires the highest level of scienter — purposeful intent — and, at
a minimum, "but for" causation.

The reasonable jurists in the Fourth Circuit explained: ‘'As the
text indicates, § 2251(a) contains a specific intent element: the govern-
ment must prove that production of a visual depiction was a purpose of
engaging the [minor] in the sexually explicit conduct." United States v.
Battle, 695 Fed. Appx' 677, 679 (4th Cir. 2017)(citing United States v.
Palomino-Coronado, 805 F.3d 127, 130 (4th Cir. 2015). "It is simply not
enough to say 'the photo speaks for itself and for the defendant and that

is the end of the matter'."" Id. (quoting United States v. Crandon, 173

 

F.3d 122, 129 (3d Cir. 1999)(discussing the "purpose'’ requirement in the
related cross-reference under U.S.S.G. § 2G2.2(c)(1)). "That is, a def-
endant must engage in[, or engage the minor in,] the sexual activity with
the specific intent to produce a visual depiction. It is not sufficient
simply to prove that the defendant purposefully took a picture." Palomino-

Coronado, 805 F.3d at 131. "It is also necessary for the prosecution to

 
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establish that the defendant caused the minor to engage in [the sexual-

ly explicit] conduct.'' United States v. Gonyer, 761 F.3d 157, 167 (1st

Cir. 2014). "The acts with which the defendant caused the minor to en-

gage in sexually explicit conduct — whether they consist of persuation,
inducement, enticement, coercion, or some other thing — are as integral
a part of the offense as the conduct itself... ." Id.

The Merriam Webster Dictionary defines "engage'' as "cause to partic-
ipate.'' (1997). The Supreme Court has explained that phrases such as
"results from", "because of", and "by reason of", import "but for" causa-
tion. See United States v. Burrage, 134 S. Ct. 881, 888 (2014). "For
the purpose of" is such a phrase.

In interpreting other statutes that contain the phrase ''for the
purpose of"', this Circuit has explained that these words "were included
in the statute to define the quality of the required intent .. ."
United States v. Sheehy, 541 F.2d 123, 127 (1st Cir. 1976)(quoting Unit-
ed States v. Niro, 338 F.2d 439, 441 (2d Cir. 1964); see also United
States v. Hibbs, 356 F. Supp. 820, 823 (E.D. Pa. 1973)(The crimes set
forth in 18 U.S.C. § 1010 clearly require "proof of more than a general
mens rea. The words . . . 'for the purpose of' . . . are descriptive
of that specific mens rea. . ."').

Therefore, because Counts 1 through 7 require proof of specific
intent and causation to sustain a conviction, evidence of Ms. Biron's
diminished capacity by lay witnesses as well as expert witnesses was
relevant and admissible to negate mens rea and would almost certainly

have changed the outcome of the trial.

Diminished Capacity
In discussing the effect of the Insanity Defense Reform Act, 18

 
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U.S.C. § 17, on the presentation of mental health evidence, the Sixth
Circuit explained that an insanity defense applies where the defendant's
mental condition "completely absolves him of criminal responsibility
regardless of whether or not guilt can be proven[, ]' United States v.
Kimes, 246 F.3d 800, 805 (6th Cir. 2001), whereas evidence of diminished
capacity is used to show that the defendant's "mental condition is such
that he or she cannot attain the culpable state of mind required by the
definition of the crime.'' Id. at 806.

This Circuit has noted that "[t]he reception of evidence of the
defendant's abnormal mental condition, totally apart from the defense
of insanity, is certainly appropriate whenever that evidence is relevant
to the issue of whether he had the mental state which is a necessary ele-
ment of the crime charged." United States v. Schneider, 111 F.3d 197,
201 (1st Cir. 1997). Likewise, the Sixth Circuit has stated that evidence
of diminished capacity is permitted for the purpose of negating the mens
rea element of a specific intent crime. Kimes, 246 F.3d at 806.
Evidence Relevant to Intent in Ms. Biron's Case Presented at Trial

In the instant case, the relevant evidence is summarized as fol-
lows. As to Counts 2 through 5 (the 3 video clips and photo of R.B. and
Kevin Watson in Canada), there is no proof (certainly no proof beyond a
reasonable doubt) that the defendant caused the sexually explicit con-
duct for the purpose of filming it.

Specifically, Watson testified that there was no discussion about
setting up cameras to make a video. He testified that he was already
in the process of having sex with R.B. and then Ms. Biron picked up the

camera and took the videos. (Tr. Trans. Day 2, at 114). He further

 
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testified that Ms. Biron did nothing to make or cause R.B. to have sex,
(id. at 92), and that he and R.B. had planned to have sex as they had
been having sex over Skype® for months before meeting in person. (Id.
at 90-97). Watson stated, "[T]lhe plan was for Lisa and R.B. to kind of
have sex with me, that's their plain[,]" (id. at 95), which is why he
met with them. (Id. at 96).

Regarding the still photo of Watson holding his exposed penis, Wat-
son testified that Ms. Biron set up the camera timer to take the picture
of the three of them. (Id. at 83-84). Further, Watson testified that
there were several other times when Watson and R.B. had sex that were
not filmed. (Id. at 81).

Government witness Rob Hardy, likewise,provided no evidence that
proved Ms. Biron caused R.B. to engage in sexually explicit activity
for the purpose of creating an image of it. Hardy testified that R.B.
told him that "she [(R.B.)] went to Canada and she [(R.B.)] lost her
virginity and that Lisa recorded it." (Id. at 200-01). He also testi-
fied that Ms. Biron told him that they went to Canada for R.B. to lose
her virginity and she (Ms. Biron) recorded it. (Id. ).

Government witness Lisa Brien testified that R.B. wanted a video
made of her first sexual experience for a "keepsake.'"' (Id. at 208).

Government witness Brandon Ore testified that R.B. and Ms. Biron
told him that "they had been drinking one night and had been intoxicated
and planned to go up there [(to Canada)].'"" (Id. at 142). Ore stated,
"T do not know if there was a plan to make a video." (Id. 159). "They

had never said they wanted to produce a video." (Id.).

 
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Regarding Count 6, (the video clip depicting Ore and R.B.), Ore
testified that Ms. Biron had encouraged him to have sex with R.B. in the
living room. (Id. at 131). On cross examination, however, Ore clari-
fied that R.B. and he were boyfriend and girlfriend and R.B. had com-
plained to Ms. Biron (R.B.'s mother) that Ore did not initiate sex with
her and that R.B. always had to initiate it. It was in this context,
because of this complaint by R.B., that Ms. Biron encouraged Ore to take
the initiative. (Id. at 167). Ore also testified that Ms. Biron took
pictures of everything. (Id. at 172). Likewise, government witness and
case agent Gibley testified that he recovered from Ms. Biron's house
"a large number of pictures, a very large number of pictures." (Id. at
234). Ore explained that the banter that can be heard on the video clip
was of a humorous nature. (Id. at 134-35).

Regarding Count 7 (the video of the two women), government witness
Michael Biron identified Ms. Biron's and R.B.'s voices on the video,
(id. at 242), and identified the living room in the video. (Id. at 253).
Scientific evidence presented by the government showed that this video
had been deleted from the original device and was automatically backed-
up in a file with a 40-character hexadedimal name that was inaccessible
until the FBI extracted it using a program called Blacklight. (Id. at
22); 28-29).

Evidence in the Government's Discovery Not Presented or Investigated

In Ms. Biron's case, there were multiple statements in the govern-
ment's discovery that suggested that Ms. Biron was intoxicated much of
the time. Evidence about her intoxication at the time each image was

taken should have been investigated and presented by counsel as evidence

 
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of her diminished capacity.

In relation to the video (of the two females) in Count 7, R.B. told
the case agent that "[Ms. Biron] was very drunk when it happened and that
she passed out shortly after it was filmed."" (R.B. Statement, 1/1/13,
at 5). In regard to the events that transpired during this time period,
R.B. stated that "she thought her mother became addicted to pain medica-
tion and that she had a, [sic] 'melt down', [sic] which started the entire

" (Id. at 7)(incorrect comma usage in

process, [sic] 'of everything’.
original).

Likewise, there are several statements in Dr. Burns' evaluation
report that suggest, at least, a mental state of diminished capacity.
Specifically, he opined:

"(This is an anxious individual who is significantly de-
pressed."

'TShe] lived for the moment"

"(There occurred a] dramatic relapse into substance abuse"'
"Il she was] overwhelmed"
'' T]he stress became too much"
"TAll of this] contributed to a synergistic meltdown"
"Ms. Biron ceased to function as an autonomous adult"
[She] gave up on being an adult and regressed"
"The [MMPI-II] profile suggests evidence of confused and

perha s disordered thought"
irthe] degree of impairment is fairly acute"

A Reasonable Jurist Would Likely Find Counsel Was Ineffective
Under its errant understanding of the law, the District Court stated
that 'The evidence presented against [Ms.] Biron at trial was overwhelming.
The jury's verdict was quickly returned and her conviction is well support-
ed by the record."" (Oct. Order at 15). But the court's failure to ana-
lyse Ms. Biron's claim of ineffective assistance of counsel under a
correct understanding of the mens rea element belies the court's conclu-

sion. At best the evidence proved that Ms. Biron knowingly took pictures

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and videos of sexually explicit activity. And if that were what § 2251(a)
proscribed,the evidence was, indeed, overwhelming. But this is not the
crime Congress described in § 2251(a). The court's failure to analyse
Ms. Biron's claim of IAC correctly has resulted in the wrongful denial of
her § 2255 motion. Certainly, the low bar required for obtaining a COA
is easily met.

II. The Insanity Defense

Wholly apart from the District Court's error in apprehending the
scienter element and its relation to diminished capacity is its error
in discounting Ms. Biron's likelihood of successfully presenting an in-

sanity defense.”
In summarily dismissing this claim, the Court noted that ''Dr. Burns

did not find that [Ms.] Biron suffered from any kind of psychological
disorder that may have precluded her from being able to make rational
and informed calculations.'' (Oct. Order at 12). The court, however,
misconstrued what trial counsel hired Dr. Burns to do. Dr. Burns was
hired post-conviction "to try to understand why these events took place."
(Jan. 22, 2013, Engagement Letter from Moir to Burns). In his March 26,
2018 letter to Ms. Biron, Dr. Burns explained that "[he] did not offer

a specific diagnosis" because ''[he] was not hired for that purpose...
[and he] did not see how speculating on a diagnosis was all that helpful
and might even be something of a distraction.'' He stated that if he had
been asked to investigate a mental health defense, "[he] would probably

not have accepted the referral in that [he did] not feel qualified enough
to undertake such a specific charge."' (Burns Mar. 26, 2018 Letter to Ms.

Biron, available on PACER).

 

3 Title 18°-U.S.C. § 1/ provides, “It is an affirmative defense...that, at the
time of the commission of the acts constituting the offense, the defendant, as

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Consequently, the court's reliance on Dr. Burns' failure to diagnose
the defendant is misplaced. As it stands, the District Court has found
that Ms. Biron was not prejudiced by trial counsel's failure to investi-
gate an insanity defense because trial counsel did not properly investi-
gate an insanity defense.

III. Conclusion

In failing to understand the correct standard of mens rea required to
sustain a conviction, the District Court failed to properly determine the
prejudice prong of Strickland. Reasonable jurists could have found, under
a proper analysis, that both lay witness observation testimony and expert
testimony as to Ms. Biron's mental status could have negated the specific
intent element of Counts 1 through 7. An expert could have made an offic-
ial diagnosis of insanity, or, at least, explained to the jury a link or
a relationship between, for example, "disordered thought" or "regression
to adolescence" and the ability to form the required mens rea in this case.

See United States v. Brown, 326 F.3d 1143, 1146 (10th Cir. 2003).

 

Wherefore, as Ms. Biron has shown that jurists of reason would find
it debatable whether her motion states a valid claim of the denial of a
constitutional right, she requests this Honorable Court grant her a

Certificate of Appealability.

 

a result of a severe mental disease or defect, was unable to appreciate
the nature and quality of the wrongfulness of his acts."

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Respectfully submitted by

 

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QLELQO9 KicLnan:
Date” Lisa Biron # 12775-049
FCI Waseca -
P.O. Box 1731
Waseca, MN 56093
Certification
I hereby swear, under penalty of perjury, that two (2) copies of the
foregoing Application have been mailed to the First Circuit Court of

Appeals by depositing same in the inmate legal mail system U.S. postage

prepaid on this date, and that a copy was mailed to AUSA Seth Aframe.

QNLIG _ Dr8 NN

~ Lisa Biron

 

 

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Lisa A. Biron
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Maria R. Hamilton, Clerk February 13, 2019
United States Court of Appeals

For the First Circuit

One Courthouse Way

Boston, MA 02210-3011

Re: Case no. 18-2226
Biron v. United States

Dear Clerk Hamilton:

I have enclosed, as requested by the Court's Order of February 8, 2019,
my Application for a Certificate of Appealability.

Thank you for your attention to this matter.

Sincerely,

Sp f) -
Auta & COIL

Lisa Biron

Cc: Seth R. Aframe

 
    

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12775-049
First Cir Ct Of Appeals

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